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                       UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF MINNESOTA


_________________________________
In re: Baycol Products Litigation

UNITED STATES OF AMERICA ex rel.
LAURIE SIMPSON,                                   Honorable Michael J. Davis
                                                  United States District Court Judge

                                Plaintiff,

                                        v.

                                                  MDL No. 1431
BAYER HEALTHCARE                                  Civil. No. 08-5758(MJD)(SER)
PHARMACEUTICALS, INC.;
BAYER CORP.; and
BAYER A.G.,

                  Defendants.
_________________________________

                                    JOINT STATUS REPORT

          In accordance with the Court’s January 18, 2019 Order (ECF No. 178), Relator Laurie

Simpson (“Relator”) and Defendants Bayer Healthcare Pharmaceuticals, Inc., Bayer Corp., and

Bayer A.G. (“Bayer”) (together, the “Parties”), respectfully submit the following joint status

report.

          Since the last Joint Status Report on March 19, 2019, Bayer has served its Responses and

Objections to Relator’s Second Request for Production. The Parties are continuing to meet and

confer regarding draft orders to address the production of protected health information in

compliance with HIPAA regulations, the production of privileged information under Rule

502(d), and the production of electronically-stored information (“ESI”). The Parties are also

continuing to meet and confer about the production of documents in response to Relator’s First


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and Second Requests for Production, including about the particular custodians that Relator has

identified and that Bayer is investigating. The Parties expect that they will submit the protective

orders described above for the Court’s consideration within the next week. Once the protective

orders have been approved, the Parties expect to begin producing documents shortly thereafter.

       The Parties are available if the Court wishes to discuss the status of discovery at the

conference scheduled for April 23, 2019.



  Dated: April 16, 2019

   Respectfully submitted,                             Respectfully submitted,


   KESSLER TOPAZ                                       BARTLIT BECK HERMAN
   MELTZER & CHECK LLP                                 PALENCHAR & SCOTT LLP
   /s/ David Bocian                                    /s/ Adam Hoeflich

   David Bocian                                        Philip S. Beck
   dbocian@ktmc.com                                    Adam Hoeflich
   Asher Alavi                                         54 W. Hubbard Street, Suite 300
   aalavi@ktmc.com                                     Chicago, IL 60603
   280 King of Prussia Road                            (312) 494-4400
   Radnor, PA 19087
   484-270-1402

   Counsel for Relator Laurie Simpson                  SIDLEY AUSTIN LLP
                                                       /s/ Kristin Graham Koehler
                                                       Kristin Graham Koehler (pro hac vice)
                                                       kkoehler@sidley.com
                                                       Ryan C. Morris (pro hac vice)
                                                       rmorris@sidley.com
                                                       Joshua J. Fougere (pro hac vice)
                                                       jfougere@sidley.com
                                                       1501 K Street, N.W.
                                                       Washington, D.C. 20005




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                                     DORSEY & WHITNEY LLP
                                     /s/ John Marti

                                     John Marti (#0388393)
                                     marti.john@dorsey.com
                                     Alex P. Hontos (#0388355)
                                     hontos.alex@dorsey.com
                                     Caitlin L.D. Hull (#0398394)
                                     hull.caitlin@dorsey.com
                                     50 South Sixth Street, Suite 1500
                                     Minneapolis, MN 55402
                                     Telephone: (612) 340-2600

                                     Counsel for Defendants Bayer
                                     Corporation, Bayer AG and
                                     Bayer Healthcare Pharmaceuticals, Inc.




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                                CERTIFICATE OF SERVICE

      I certify that on April 16, 2019, the foregoing document was served this day on all

counsel of record via CM/ECF.


                                           /s/ Asher S. Alavi




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